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         1                 IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
         2
                Civil Action No. 1:14-cv-02887-JLK
         3      ______________________________________________________

         4                   RULE 30(b)(6) DEPOSITION OF:
                             MELODY JEAN FURST - Volume I
         5                          March 29, 2016
                                  The GEO Group, Inc.
         6      ______________________________________________________

         7      ALEJANDRO MENOCAL, et al.,

         8      Plaintiffs,

         9      v.

        10      THE GEO GROUP, INC.,

        11      Defendant.
                ______________________________________________________
        12
                             PURSUANT TO NOTICE, the Rule 30(b)(6)
        13      deposition of MELODY JEAN FURST, THE GEO GROUP, INC.,
                was taken on behalf of the Plaintiffs at 600 Grant
        14      Street, Suite 450, Denver, Colorado 80203, on
                March 29, 2016, at 3:08 p.m., before Darcy Curtis,
        15      Registered Professional Reporter and Notary Public
                within Colorado.
        16

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        23

        24

        25      Hunter + Geist, Inc.
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                800.525.8490          Denver, CO 80203                           scheduling@huntergeist.com


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                          Court Reporting, Legal Videography, and Videoconferencing
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Menocal v. The Geo Group, Inc.                MELODY JEAN FURST                                                       3/29/2016

                                                        1                                                                    3
              IN THE UNITED STATES DISTRICT COURT                                       I N D E X
                 FOR THE DISTRICT OF COLORADO                     EXAMINATION OF MELODY JEAN FURST:                        PAGE
                                                                  March 29, 2016 - Volume I
    Civil Action No. 1:14-cv-02887-JLK
                                                                  By Mr. Free                                                 4
    ______________________________________________________
                 RULE 30(b)(6) DEPOSITION OF:                                                                           INITIAL
                 MELODY JEAN FURST - Volume I                     DEPOSITION EXHIBITS:                                REFERENCE
                         March 29, 2016
                      The GEO Group, Inc.                         Exhibit 10     The GEO Group, Inc., Batch                  25
                                                                                 Summary, 5/14/14
    ______________________________________________________        Exhibit 11     E-mail to Hood from Felton,                 25
    ALEJANDRO MENOCAL, et al.,                                                   3/9/16, Subject: Menocal -
    Plaintiffs,                                                                  30(b)(6), with various e-mails
    v.                                                                           attached
    THE GEO GROUP, INC.,
    Defendant.                                                    Exhibit 12     E-mail to Gentlemen from                    28
                                                                                 Felton, 1/12/16, with e-mail
    ______________________________________________________                       attached

                 PURSUANT TO NOTICE, the Rule 30(b)(6)            Exhibit 13     Detainee   Grievance Form,                  39
    deposition of MELODY JEAN FURST, THE GEO GROUP, INC.,                        Case No.   14-163, with attachment
    was taken on behalf of the Plaintiffs at 600 Grant            Exhibit 14     Detainee   Grievance Form,                  40
                                                                                 Case No.   14-189, with attachment
    Street, Suite 450, Denver, Colorado 80203, on
    March 29, 2016, at 3:08 p.m., before Darcy Curtis,
    Registered Professional Reporter and Notary Public            DEPOSITION EXHIBITS:       (Previously Marked)
    within Colorado.
                                                                  Exhibit 1     Amended Notice of FRCP 30(b)(6)              10
                                                                                Deposition of Defendant The GEO
                                                                                Group, Inc.

                                                                  Exhibit 2     Defendant's Initial 26(a)(1)                 34
                                                                                Disclosures, with attachments
                                                                  Exhibit 9     (CONFIDENTIAL) Letter to Sanchez             40
                                                                                from Choate, 12/10/12, with
                                                                                attachments




                                                        2                                                                    4
                      A P P E A R A N C E S                   1               WHEREUPON, the following proceedings
     For the Plaintiffs:                                      2
               ANDREW FREE, ESQ.                                     were taken pursuant to the Federal Rules of Civil
               Law Office of R. Andrew Free                   3      Procedure.
               1212 7th Avenue North                          4
               Nashville, Tennessee 37208
                                                                                 * * * * *
                                                              5                   MELODY JEAN FURST,
               ALEXANDER HOOD, ESQ.                           6      having been first duly sworn to state the whole truth,
               Towards Justice                                7
               1535 High Street                                      testified as follows:
               Suite 300                                      8               (At this time Mr. Hood was not present.)
               Denver, Colorado 80218                         9               THE COURT REPORTER: This is Darcy
                                                             10      Curtis, the court reporter. It is March 29, 2016, at
               ANDREW H. TURNER, ESQ.
               Buescher, Kelman, Perera & Turner, P.C.       11      3:07 p.m. We are on the record. I am with Hunter +
               600 Grant Street                              12
               Suite 450
                                                                     Geist, 1900 Grant Street, Suite 1025, Denver, Colorado
               Denver, Colorado 80203                        13      80203. Present in the room are counsel and the
                                                             14      deponent. Parties, please, state your appearances.
     For the Defendant:                                      15
               SHELBY A. FELTON, ESQ.                                         MR. FREE: Andrew Free for the
               Vaughan & DeMuro                              16      plaintiffs.
               720 South Colorado Boulevard                  17
               Penthouse, North Tower
                                                                              MR. TURNER: Andrew Turner for the
               Denver, Colorado 80246                        18      plaintiffs.
                                                             19               MS. FELTON: Shelby Felton for the
                                                             20      defendant.
                                                             21                     EXAMINATION
                                                             22      BY MR. FREE:
                                                             23            Q. Good afternoon, Ms. Furst.
                                                             24            A. Hi.
                                                             25            Q. Can you state your full name for the

                                                                                                             1 (Pages 1 to 4)

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                                                            5                                                            7
  1   record, please.                                            1   of the road here and what we need to do in order to be
  2        A. Melody Jean Furst.                                 2   efficient and effective with our time and also to make
  3        Q. What is your occupation?                           3   sure that your testimony is clear going forward.
  4        A. I am assistant business manager for The            4   Okay.
  5   GEO Group.                                                 5            So as I said, I represent the plaintiffs
  6        Q. Do you understand that you are here today          6   in this case. I'm going to be asking you some
  7   to testify on behalf of The GEO Group about certain        7   questions. You are here to testify on behalf of GEO.
  8   subjects?                                                  8   You're going to be providing some responses. It's not
  9        A. Yes.                                               9   an endurance contest. I know it's late in the
 10        Q. Are you prepared to do so?                        10   afternoon. If you get tired or you need a restroom
 11        A. Yes.                                              11   break or you need something to drink, please feel free
 12            (At this time Mr. Hood entered the room.)        12   to just tell me. Okay. With one exception, if there
 13        Q. If you would please open your binder to           13   is a pending question that has not yet been answered,
 14   Tab 1. We're going to go to page 3. It's my               14   I would appreciate it if you could provide an answer
 15   understanding that you have been designated by The GEO    15   before we take a break.
 16   Group to provide testimony today regarding 3 b, the       16         A. Okay.
 17   number of participants in the voluntary work program      17         Q. During those breaks, I would ask that you
 18   and documents pertaining to that number. Is that your     18   not consult with your counsel about anything other
 19   understanding?                                            19   than whether you're going to assert a privilege not to
 20        A. Correct. Yes.                                     20   provide a response. Okay. But anything about your
 21        Q. Are you prepared to testify on that               21   testimony we would ask that you not discuss with your
 22   subject today?                                            22   counsel, because you're under oath and it's just like
 23        A. Yes.                                              23   testifying in open court. Okay?
 24        Q. It's also my understanding that you are           24         A. Okay.
 25   prepared to provide testimony on 3 c?                     25         Q. If you don't understand a question that I

                                                            6                                                            8
  1        A.   Yes.                                             1   ask, which happens from time to time, I'm going to
  2        Q.   And 3 d?                                         2   trust that you will let me know before answering. Is
  3        A.   Yes.                                             3   that fair?
  4        Q.   3 e?                                             4        A. Yes.
  5            MS. FELTON: With the exception of other           5        Q. Okay. If you need me to rephrase a
  6    GEO facilities.                                           6   question or if anything is unclear to you, feel free
  7            MR. FREE: Noted.                                  7   to speak up. I am happy to take another go at it.
  8         Q. (BY MR. FREE) But with that exception,            8   Fair?
  9    which has been lodged through an objection by counsel,    9        A. Fair.
 10    you are prepared to provide testimony on topic 3 e       10        Q. Otherwise, if you do answer the question,
 11    today?                                                   11   I'm going to assume and future readers of your
 12         A. Yes.                                             12   deposition are going to assume that you understood the
 13         Q. And 3 f?                                         13   question that I was asking. Do you understand that?
 14         A. Yes.                                             14        A. Yes.
 15         Q. 3 g?                                             15        Q. Similarly, if you are confused in any way
 16         A. Yes.                                             16   about terminology or any other part of a document that
 17         Q. Anything else that you understand you're         17   we're looking at, take all of the time you need to
 18    going to be testifying about today?                      18   review that document and just let me know when you're
 19         A. This is -- I mean, this is what I've been        19   ready. I will try to guide you toward what we're
 20    brought in for.                                          20   going to talk about so that you don't spend your time
 21         Q. That's what I thought. Have you ever             21   reading a bunch of paper that is not going to be
 22    given a deposition before?                               22   relevant for my question. Okay?
 23         A. Years and years and years and years ago.         23        A. Okay.
 24         Q. Well, since it's been a while, I'm going         24        Q. But I do want you to feel free to ask for
 25    to take a second and just walk you through the rules     25   time to look at what we're going to look at. If you

                                                                                                           2 (Pages 5 to 8)

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                                                          9                                                            11
  1    get confused, if you get tired, let me know. If you      1        A. K-r-u-m-p-e-l-m-a-n-n.
  2    don't understand a question, let me know. And then       2        Q. Is that who you report to?
  3    finally, let's make sure that we don't talk over each    3        A. Yes.
  4    other. It's very important that I finish my question     4        Q. And where in the chain of command do you
  5    and I allow you to finish your answer so that we have    5   two fall? Who does Barbara report to?
  6    a clear understanding of what was said here today.       6        A. To the warden.
  7    Does that make sense?                                    7        Q. What do your duties entail?
  8         A. Yes.                                             8        A. Accounts payable, detainee accounts, I
  9         Q. And to that end, if you're going to              9   oversee the detainee account clerk, billing, contracts
 10    provide an answer, please provide an answer out loud    10   as far as implementing the contract that we have.
 11    and try and use yes or no as opposed to uh-huh or       11        Q. Anything else?
 12    huh-uh, because it looks about the same when you type   12        A. No.
 13    it. Fair?                                               13        Q. What is your background professionally?
 14         A. Fair.                                           14        A. I have a construction background. I've
 15         Q. Do you have any question about any of           15   done accounting for over 30 years and so that's pretty
 16    those instructions?                                     16   much everything that I've ever done, has been
 17         A. No.                                             17   accounting.
 18         Q. Great. So you testified long ago. Were          18        Q. Do you have any certifications?
 19    you testifying as a GEO employee?                       19        A. No, sir.
 20         A. No.                                             20        Q. Are you a CPA?
 21         Q. Without telling me anything that you            21        A. No, sir.
 22    discussed with your attorney, what, if anything, did    22        Q. Do you have any specialized training in
 23    you do to prepare for today's deposition?               23   accounting?
 24         A. I just read over the questions or the           24        A. No, sir.
 25    statements here in the paperwork.                       25        Q. Do you have any degree in accounting?

                                                         10                                                            12
  1         Q. You're pointing there to the documents in        1        A. No, sir.
  2    front of you --                                          2        Q. What is your educational background?
  3         A. Page 3 and 4.                                    3        A. High school, some college, and work
  4         Q. That was a good example, a good teaching         4   experience.
  5    moment. You're pointing there to the documents in        5        Q. Okay. How many detainees work in the
  6    front of you which has been previously marked in         6   voluntary work program per year?
  7    Ms. Ceja's deposition as Exhibit 1.                      7        A. I can't respond to per year. It's 80 --
  8            MR. FREE: We're just going to keep that          8   we can have up to 80 per day.
  9    numbering going --                                       9        Q. Why can't you respond to per year?
 10            MS. FELTON: Yes, we are.                        10        A. Because the turnover is rapid.
 11            MR. FREE: -- using a common exhibit.            11        Q. Is GEO aware of every person who
 12            MS. FELTON: Yes.                                12   participates in the voluntary work program?
 13         Q. (BY MR. FREE) So you're pointing to             13        A. Yes.
 14    pages 3 and 4 of Exhibit 1. Okay. So aside from         14        Q. Does GEO have the name of each person?
 15    reading over that, did you look at any other            15        A. Yes.
 16    documents?                                              16        Q. Is that in a computer system?
 17         A. No.                                             17        A. Yes.
 18         Q. Okay. How long have you been the                18        Q. Why are you unable to look in that
 19    assistant business manager at the Aurora facility?      19   computer system and tell me how many names there are?
 20         A. Since May of 2003.                              20        A. Because it varies.
 21         Q. Okay. A long time?                              21        Q. What about for the period of three years
 22         A. Correct.                                        22   prior to the filing of this litigation and now? Do
 23         Q. Who is the business manager?                    23   you have any estimate of how many detainees have
 24         A. Barbara Krumpelmann.                            24   worked in the voluntary work program?
 25         Q. Do you want to spell that?                      25        A. No, I don't.

                                                                                                         3 (Pages 9 to 12)

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                                                          13                                                            15
  1         Q. You said it's up to 80 people per day?            1   of the names of all of the people that have
  2         A. Correct.                                          2   participated in the voluntary work program. I think I
  3         Q. And because of turnover, you're not able          3   designated that back to October of 2012.
  4    to determine the number in total; is that your            4            MR. FREE: What is your objection?
  5    testimony?                                                5            MS. FELTON: You're telling her that she
  6         A. Yes.                                              6   did not come prepared for the deposition and she did
  7         Q. Would you say in the three years prior to         7   come prepared for the deposition.
  8    the filing of this litigation, which happened almost      8            MR. FREE: I'm just asking her. So what
  9    two years ago now, up until now, it's at least several    9   is the legal objection?
 10    hundred people who have participated in the voluntary    10            MS. FELTON: Form.
 11    work program?                                            11            MR. FREE: I would appreciate it,
 12         A. I would say yes.                                 12   Counsel, if you not engage in further speaking
 13         Q. Would you say that that number exceeds           13   objections.
 14    1,000, more or less?                                     14         Q. (BY MR. FREE) Were you asked to
 15         A. No.                                              15   investigate the number of people who had participated
 16         Q. Okay. So you think it's somewhere                16   in the voluntary work program in preparing for this
 17    between several hundred people and 1,000 who have        17   deposition?
 18    participated in the voluntary work program between       18         A. No.
 19    three years before the plaintiffs filed their            19         Q. That's not information that you had in
 20    complaint and the present; is that right?                20   your personal knowledge, correct?
 21         A. I would say yes.                                 21         A. Correct.
 22         Q. Okay. That number is knowable, though,           22         Q. Okay. How much has GEO paid, dating back
 23    correct?                                                 23   to October of 2012, to detainees participating in the
 24         A. I can probably pull it up via our                24   voluntary work program?
 25    software program.                                        25         A. I would have no idea off the top of my

                                                          14                                                            16
  1         Q. What software program is that?                    1   head.
  2         A. We have -- it's Keefe Commissary, which           2         Q. Well, this shouldn't be coming off the
  3    is our banking software.                                  3   top of your head, because you've been designated to
  4         Q. And, for instance, could you search for           4   testify, again, at Exhibit 1 about the total
  5    the names of people who participated in the program       5   compensation paid to voluntary work program
  6    within a certain period?                                  6   participants at the Aurora Detention Facility. I
  7         A. Yes.                                              7   understand your counsel has objected to amounts paid
  8         Q. And then you could maybe put those names          8   to other facilities. You came here and you told me
  9    in a spreadsheet?                                         9   you were prepared to testify about that and you just
 10         A. Yes.                                             10   told me you have no idea off the top of your head.
 11         Q. And then you could look at the rows on           11   What steps did you take to become knowledgeable on
 12    the spreadsheet and figure out how many names there      12   behalf of The GEO Group about the total compensation
 13    are?                                                     13   paid to voluntary work program participants?
 14         A. Correct.                                         14            MS. FELTON: I'm going to object, because
 15         Q. But despite being asked to testify today         15   I specifically designated her in my e-mail to you that
 16    about the number of participants in the voluntary work   16   she would need to testify based on the reimbursement
 17    program, you haven't done that?                          17   documents provided to you on February 26 regarding the
 18             MS. FELTON: Object to form. I'm the one         18   pay that was paid to them.
 19    that designated her. We don't have to create any         19            MR. FREE: Does she have those documents?
 20    documents. We don't have to take documents from a        20            MS. FELTON: I gave them to you on
 21    software program, put them into a spreadsheet, and       21   February 26. It was not designated as a subpoena
 22    count them. There is no document that we can hand to     22   duces tecum.
 23    you that has the name of every participant. We gave      23            MR. FREE: But she's not here with those
 24    you the documents that do exist, but you have not        24   documents.
 25    included in your deposition notebook, that lists all     25            MS. FELTON: She doesn't have to be.

                                                                                                        4 (Pages 13 to 16)

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                                                          17                                                            19
  1    There was no designation or request for a production      1   to happen?
  2    of documents in the 30(b)(6) notice.                      2            MS. FELTON: Yes.
  3             MR. FREE: What's your legal objection?           3            MR. FREE: Right here, we're going to do
  4             MS. FELTON: You're stating improperly            4   that during the deposition. Does she need a
  5    what she was designated to testify for.                   5   calculator?
  6             MR. FREE: Was she designated to testify          6            MS. FELTON: Sure.
  7    under 3 e, total compensation paid to VWP participants    7            MR. FREE: So that I understand, your
  8    at the Aurora Detention Facility?                         8   February 26 e-mail has informed the plaintiffs that
  9             MS. FELTON: Yes. And I told you in               9   from the documents you provided we will be able to
 10    order to do that, she would need the voluntary work      10   glean the total amount paid?
 11    program reimbursement documents that I gave to you.      11            MS. FELTON: Both to the participants
 12             MR. FREE: Why doesn't she have them?            12   themselves and reimbursements received from ICE.
 13             MS. FELTON: Because it's not a                  13            MR. FREE: Okay. And do you think we
 14    production request in the 30(b)(6), and I've already     14   would be able to stipulate about that amount just by
 15    given you the documents. You already have them, and      15   going through and adding up the math?
 16    they're already Bates labeled.                           16            MS. FELTON: Yes.
 17             MR. FREE: That's fine. Why has she              17            MR. FREE: All right.
 18    never seen them before?                                  18            MS. FELTON: Which is also what I said in
 19             MS. FELTON: She has seen them before.           19   my supplemental discovery responses. If you would
 20    She's the one that gave them to me.                      20   like to go through an example with her, you have it in
 21             MR. FREE: You're now testifying for her.        21   Tab 11.
 22    That's fine.                                             22            MR. FREE: I don't know why, in the three
 23             MS. FELTON: You're talking to me.               23   months since we've started the process of noticing up
 24             MR. FREE: That's because you're engaging        24   these depositions, The GEO Group has not been able to
 25    in another speaking objection. I asked you not to do     25   just come up with a number, notwithstanding the fact

                                                          18                                                            20
  1    that. I'm asking you -- she told me she has no            1   there are documents and that's my concern. I would
  2    idea -- off the top of her head she has no idea how       2   like to avoid a situation which we look at the same
  3    much the compensation was paid. Okay. We came here        3   documents and you say it's one number and I say it's
  4    without a subpoena duces tecum expecting oral             4   another number. I think we can get that resolved, I
  5    testimony on the total compensation paid from GEO.        5   really do, if you do. But I was hoping what we could
  6             Now, if it is your position as the               6   do is have a person who is knowledgeable on behalf of
  7    company that we are able to glean that from the           7   the company to come here and say the number. It's
  8    documents you provided, fine. But if it is your           8   okay. We can work through it.
  9    position she needs to rely upon those documents, then     9            So the plaintiffs are going to object to
 10    it's your position to make sure she has those            10   the record based on the failure of GEO to provide a
 11    documents ready to go. It's your duty to make sure       11   person who is knowledgeable on the noticed topic of
 12    those documents are ready to go.                         12   the total compensation to be paid. We understand your
 13             MS. FELTON: I did. I gave them to you           13   position, that you wanted us to bring the records you
 14    on February 26 and I told you that in my e-mail to       14   supplied to us so that your witness could look at
 15    you. So you could have responded to my e-mail and        15   those records and come up with the number during the
 16    said bring the documents with you. I told you in my      16   deposition. Do you feel like that's a fair
 17    e-mail she would need the documents.                     17   representation of where we just got?
 18             MR. FREE: So you knew she would need the        18            MS. FELTON: Yes. That if you had --
 19    documents.                                               19   that she could take what is in Tab 11 -- and I've
 20             MS. FELTON: And I told you that, so you         20   given you every month -- that she could take from
 21    could have responded and told me to bring them with      21   every month and verify that she created all of those
 22    me.                                                      22   documents and that each one of those packets tells you
 23             MR. FREE: Okay. So what's going to              23   the number of people paid and how much they were paid.
 24    happen if we print the documents? She's going to go      24            MR. FREE: Great. Let's go off the
 25    through and do the math herself; is that what's going    25   record for just a moment, please, so I can confer with

                                                                                                        5 (Pages 17 to 20)

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                                                          21                                                            23
  1   cocounsel.                                                 1   there may be somebody from the day before that payroll
  2            (Recess taken, 3:29 p.m. to 3:40 p.m.)            2   may not have been turned in in a timely manner.
  3        Q. (BY MR. FREE) Ms. Furst, at the                    3         Q. But based on this, there were 70 people
  4   suggestion of your counsel, what we're going to do is      4   in the voluntary work program on that day?
  5   mark as an electronic exhibit the documents that your      5         A. Yes.
  6   counsel has provided to the plaintiffs beginning with      6         Q. Now, looking at Bates No. 1516, we
  7   GEO_MEN 00001514 and continuing to GEO_MEN 00004559.       7   have -- and 1517 --
  8   What we're going to ask you to do, so we can identify      8            MR. FREE: Scroll down, please.
  9   the number of participants in the voluntary work           9         Q. (BY MR. FREE) -- it reflects 56 people
 10   program at the Aurora facility pursuant to your           10   received deposits on May 14, 2014, in this batch; is
 11   counsel's instruction and Section 3 b of the 30(b)(6)     11   that right?
 12   deposition notice previously marked as Exhibit 1, is      12         A. Correct.
 13   we're going to ask you to start at page 1514 that's       13         Q. So these batches were run at the same
 14   going to be projected up here on the screen and tell      14   time, or were they run at different times?
 15   us what this document is, who created it, what its        15         A. They're run daily.
 16   purpose is, and then I'll ask you some questions.         16         Q. So 1514 to 1515 says May 14, 2014, at
 17   Okay. So let's begin. What is this document? And          17   10:28. And then 1515 to 15 -- excuse me. 1516 to
 18   can you see?                                              18   1517 says May 15 of 2014 at 11:51. Do you see that?
 19        A. Yes.                                              19   You can follow along on your counsel's computer.
 20        Q. Okay. Does it help if I turn the light            20         A. They're run daily.
 21   off?                                                      21         Q. Okay. So compare these two lists and see
 22        A. No. It's fine.                                    22   if there is anyone on the previous list who is not on
 23        Q. All right.                                        23   the -- anyone on Wednesday's list who is not on
 24        A. That is a batch for detainee pay for --           24   Thursday's list. We're going to note for the record
 25   what is it -- 1/13 of '14.                                25   that you're going to look off of your counsel's

                                                          22                                                            24
  1         Q. For when now?                                     1   computer so that she can scroll up and down for you.
  2         A. Those are the people that worked on,              2            MS. FELTON: Well, yes, and we can't see.
  3    whatever date that is, 1/13 -- or 5/13.                   3   We can't see it.
  4             MR. FREE: Can we project this a little           4            MR. FREE: Ms. Furst, what we're going to
  5    closer to the witness, please, so she can see. I'm        5   do is we're going to take that question off the table.
  6    going to move out of the way so she can see, and I'll     6   We're going to ask that you take a moment and review
  7    speak up for the court reporter.                          7   1517 through 4559 and count the number of people who
  8         Q. (BY MR. FREE) So right now we are                 8   participated in the voluntary work program according
  9    looking at Bates No. 1514. Look at the bottom             9   to this document, please. We'll go off the record
 10    right-hand side of the screen. If you look on the        10   while she's doing that. At what time?
 11    second page, 1515, it reflects 70 people --              11            THE COURT REPORTER: 3:49.
 12             MR. FREE: Can you go back to it again?          12            (Recess taken, 3:49 p.m. to 4:10 p.m.)
 13    Thanks.                                                  13            MS. FELTON: We will stipulate that the
 14         Q. (BY MR. FREE) All right. So beginning            14   documents speak for themselves and state how many
 15    at 1514 -- are you able to see that projected on the     15   participants there were in the voluntary work program.
 16    wall, Ms. Furst?                                         16   We will not stipulate to a number just because
 17         A. Yes.                                             17   there's -- we can't even estimate. We don't know if
 18         Q. -- going down to 1515, can you see the           18   200 is a good number. We don't know if a hundred,
 19    number of people who received deposits on May 14,        19   300, a thousand, and I'm just not comfortable
 20    2014?                                                    20   stipulating to any specific number. And we think that
 21         A. It looks like 70.                                21   we've given -- we think we've met our 30(b)(6)
 22         Q. Okay. Does that indicate to you that 70          22   obligation, because we've provided the documents in
 23    unique individuals received deposits for the voluntary   23   our supplemental discovery responses, and so you have
 24    work program on that day?                                24   the same information that we have. And the manner in
 25         A. It would. There's a possibility that             25   which to come to that answer is as equally in your

                                                                                                        6 (Pages 21 to 24)

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                                                          25                                                            27
  1    hands as it is in mine, and I don't think we have the     1   prevented the plaintiffs from obtaining necessary
  2    obligation to do the calculation for you. So we can       2   admissions that will be used in their motion for class
  3    agree to disagree and just take it up with the court      3   certification, which was the purpose of this
  4    on a motion to compel. But we're not going to -- you      4   deposition. The deposition notice could not be
  5    asked us to count for each day for the last three         5   clearer that one of the topics for deposition would be
  6    years how many participants there were, and we don't      6   the number of participants in the voluntary work
  7    think that that's a proper 30(b)(6) question. But,        7   program and the total amount paid. No objection was
  8    again, we can agree to disagree and bring it up on a      8   made to these.
  9    motion to compel.                                         9            MS. FELTON: Actually, there were lots of
 10             MR. FREE: Okay. Thank you, Counsel.             10   objections.
 11    We're going to enter as Exhibit 10 -- excuse me --       11            MR. FREE: To these subjects, to these
 12    Exhibit 11, because 10 was the electronic exhibit. Go    12   particular subjects.
 13    print that out. We'll do just the first page.            13            MS. FELTON: If you go back to my
 14             (Deposition Exhibit 11 was marked.)             14   original.
 15             MS. FELTON: So 10, we're going to just          15            MR. FREE: Of what date? Because you
 16    put the --                                               16   told me there was a February 26 e-mail. There's no
 17             MR. FREE: The first page.                       17   26th e-mail regarding objections. There's just the
 18             MS. FELTON: That will be 10 and this            18   production. We've put the March 9 e-mail in. That's
 19    will be 11. Now, the tabs --                             19   the most recent designation. In that designation, you
 20             MR. FREE: They're not going to be               20   say you can go back to the January e-mail in which you
 21    sequential.                                              21   raised a bunch of objections. For good measure . . .
 22             MS. FELTON: I didn't know if the tabs           22            MS. FELTON: So there's the March 9
 23    had some meaning.                                        23   e-mail that contained objections.
 24             MR. FREE: No, they don't. They're just          24            MR. FREE: To these particular subjects?
 25    separators.                                              25            MS. FELTON: To every subsection that I

                                                          26                                                            28
  1             MS. FELTON: Because when you're telling          1   had an objection to.
  2    me to put this in a tab, I didn't know if --              2           MR. FREE: Did you move for a protective
  3             MR. FREE: No, they're just separators.           3   order?
  4    We'll go by the exhibits.                                 4           MS. FELTON: No.
  5             MS. FELTON: All right.                           5           MR. FREE: Because you referenced it,
  6             MR. FREE: The plaintiffs are going to            6   we'll enter the January 9 e-mail.
  7    enter as Exhibit 11 the March 9, 2016, e-mail from        7           MS. FELTON: March.
  8    counsel for GEO which says, "Ms. Furst" -- this is on     8           MR. FREE: No. We've already entered the
  9    page 2. "Ms. Furst is designated to testify, based on     9   January 9 e-mail -- the March 9 e-mail. Excuse me. I
 10    the reimbursement documents provided on February 26,     10   meant the January 12 e-mail that you sent with the
 11    2014, regarding: The pay and number of participants      11   objections to the previous notice, we'll enter that as
 12    in the voluntary work program, VWP; the existence and    12   Exhibit 12.
 13    location of any documents containing this information    13           (Deposition Exhibit 12 was marked.)
 14    or containing information relevant to determining that   14           MR. FREE: That is actually already there
 15    number; and total compensation paid to VWP               15   at Tab 6. It's at page 2. That's your January 12
 16    participants at Aurora." There is no objection to        16   e-mail.
 17    these topics in this e-mail that I can find. And the     17           MS. FELTON: This is exhibit what?
 18    e-mail that you referenced from February 26, I           18           MR. FREE: 12.
 19    believe, is simply an e-mail from you providing us       19           MS. FELTON: What happened to March 9?
 20    discovery responses that were supplemental to your       20           MR. FREE: It's Exhibit 11 and it's at
 21    disclosures or discovery responses from September of     21   Tab No. -- put that at Tab 6. Thank you.
 22    2015. This is 10.                                        22           MS. FELTON: Oh, okay.
 23             (Deposition Exhibit 10 was marked.)             23           MR. FREE: You see, it's already in
 24             MR. FREE: It's the plaintiffs' position         24   there.
 25    that GEO's failure to prepare its 30(b)(6) witness has   25           MS. FELTON: Okay. I thought you were

                                                                                                        7 (Pages 25 to 28)

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  1    entering -- so you're not entering -- I thought you      1   relating to products sold by GEO or contractors to the
  2    were entering the . . .                                  2   detainees, and everything else included in that. Do
  3             MR. FREE: The March 9 e-mail was 11; the        3   we agree on that?
  4    January 12 e-mail that you referenced a moment ago is    4            MS. FELTON: Yes. But let me clarify one
  5    12.                                                      5   clarification. In terms of the value of the work
  6             MS. FELTON: But not the one where I             6   performed, now, you asked Ms. Ceja based on the wage
  7    specifically . . .                                       7   determination. Now, that was not a document that I
  8             MR. FREE: If there's additional                 8   would have anticipated. I don't know that Ms. Furst
  9    correspondence that you think is necessary to this,      9   is familiar with the wage determination.
 10    then we can attach it to our motions papers.            10            THE DEPONENT: No.
 11             MS. FELTON: Yes.                               11            MS. FELTON: Okay. So if that's the way
 12             MR. FREE: We're going to continue with         12   you're valuing the work, then she can't speak to the
 13    this deposition.                                        13   wage determination.
 14             MS. FELTON: Yes. It doesn't matter. It         14            MR. FREE: Okay. Let's start with that
 15    doesn't have to be listed as an exhibit here. I can     15   then.
 16    just attach it to the motions practice.                 16         Q. (BY MR. FREE) So this is topic 3 d, the
 17             MR. FREE: Great.                               17   value of the work performed by the VWP participants
 18             MS. FELTON: That's fine.                       18   and the existence and location of documents containing
 19          Q. (BY MR. FREE) All right. Ms. Furst,            19   information relevant to that value. You're prepared
 20    thank you very much for bearing with us.                20   to testify about that today subject to what your
 21          A. Not a problem.                                 21   counsel just said?
 22          Q. You still have your deposition notebook        22            MS. FELTON: She's not understanding,
 23    in front of you; is that right?                         23   because there are no documents and there is no
 24          A. Correct.                                       24   valuation. So that's why she's -- answer to the best
 25          Q. Great. Is there any reason that you are        25   that you can.

                                                         30                                                            32
  1    not going to be able to testify regarding the rest of    1          A. I can't respond to it.
  2    the subjects that we've noticed? Putting aside the       2          Q. (BY MR. FREE) Okay. Why not?
  3    total pay and the total number of detainees, is there    3          A. Because I don't understand exactly what
  4    anything else you're not going to be able to testify     4   it is that you're wanting.
  5    about today that you've been designated for?             5          Q. Okay. Which part is confusing you with
  6          A. I don't believe so.                             6   regard to the value of the work?
  7          Q. Okay. So you're prepared on behalf of           7          A. Value of the work, I can't respond,
  8    GEO to provide the rest of that testimony; is that       8   because I don't know what they consider -- you know,
  9    right?                                                   9   what you consider to be value of the work. It's -- I
 10          A. Yes.                                           10   don't know.
 11          Q. Okay. So 3 c is the quantity, scope, and       11          Q. All right. If you had to go out and
 12    type of work performed in the voluntary work program.   12   contract on the free market for the labor that
 13             MS. FELTON: Can we go off the record one       13   voluntary work program detainees perform, do you have
 14    second?                                                 14   any idea how much that would cost?
 15             MR. FREE: Sure.                                15          A. No, sir, I do not.
 16             (Discussion off the record.)                   16          Q. You don't know how much GEO pays those
 17             MR. FREE: We are back on the record at         17   detainees under the dollar-a-day program; is that
 18    4:22. After a brief off-the-record discussion, we       18   right?
 19    have determined that Ms. Furst has been designated to   19             MS. FELTON: Object to form.
 20    testify regarding topics 3 b, the number of             20          Q. (BY MR. FREE) You don't know how much
 21    participants in the Visa Waiver Program -- excuse       21   they pay them per year; you don't know how much GEO
 22    me -- the voluntary work program; c, the quantity,      22   has shelled out during this period from October 2012
 23    scope, and type of work performed in the VWP; d, the    23   to the present pursuant to the voluntary work program?
 24    value of the work; f, detainees use of funds obtained   24   I think that's what you told me earlier. You don't
 25    through participation; g, policies and practices        25   know the total amount, right?

                                                                                                        8 (Pages 29 to 32)

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                                                          33                                                           35
  1         A. I do not.                                         1   detainee"?
  2         Q. So not only do we not have a benchmark of         2         A. Yes.
  3    what you're paying the detainees for the work they're     3        Q. Who is being reimbursed?
  4    doing, we also don't know -- we don't know what that      4         A. We are reimbursed by ICE. We pay, they
  5    labor would cost if you had to go and purchase it off     5   reimburse.
  6    the free market; is that right?                           6        Q. Okay. You pay the detainees, ICE
  7         A. Correct.                                          7   reimburses you?
  8         Q. These detainees, they don't have a                8         A. Correct.
  9    contract with the government to perform this work; is     9        Q. Do you happen to know what's underneath
 10    that right?                                              10   this redaction to the right of this, this quantity?
 11         A. Correct.                                         11         A. $1.
 12         Q. They don't have a contract with GEO to           12        Q. Okay. And so it says, "The contractor
 13    perform this work?                                       13   shall not exceed the quantity shown without prior
 14         A. No.                                              14   approval by the contracting officer." Do you see
 15         Q. They're not subject to the Service               15   that?
 16    Contract Act and the wage determinations within that     16         A. Yes.
 17    that's attached to the GEO contract, right?              17        Q. And underneath that there's some
 18         A. I would say no.                                  18   redaction. Do you know what that says underneath
 19         Q. So in other words, what your counsel was         19   there?
 20    talking about earlier is the wage determination that's   20         A. No.
 21    attached to the GEO contract that makes sure that GEO    21        Q. We don't either. This is the
 22    employees are being paid the wages under the Service     22   reimbursement that ICE pays GEO, correct?
 23    Contract Act; GEO doesn't apply that to the detainees    23         A. Yes.
 24    because they don't have a contract to do work with       24        Q. Okay. If you would turn to page 15, do
 25    GEO, right?                                              25   you see No. 10 there, "The DHS/ICE PBNDS

                                                          34                                                           36
  1          A. Correct.                                         1   (Performance-Based National Detention Standards)"?
  2          Q. Now, is it your understanding on behalf          2         A. Yes, sir.
  3    of The GEO Group that the voluntary work program is       3         Q. Go back one page. Do you agree on behalf
  4    applied equally to every single participant and           4   of GEO that the Performance-Based National Detention
  5    there's no variation participant by participant with      5   Standards are listed as a constraint comprising the
  6    regard to how much they're paid?                          6   statutory, regulatory, policy and operational
  7          A. It's a set dollar amount.                        7   considerations that will affect the contractor?
  8          Q. That dollar amount is set according to           8         A. I have no idea what you just said.
  9    documents that GEO has received from the government       9         Q. I'm simply reading the contract and
 10    and then provided to the detainees; is that right?       10   asking you, as a representative of GEO, are you bound
 11          A. It's part of our contract.                      11   by, among other things, the PBNDS listed at No. 10
 12          Q. Now, if you would, please, turn to Tab 7.       12   pursuant to this contract?
 13    And if you would look at -- this has previously been     13         A. Yes.
 14    marked as Exhibit 2 to the Ceja deposition and we'll     14         Q. Okay. If you'll turn your attention to
 15    just continue using it. If you would look at page 2,     15   No. 46 within Tab 7, Exhibit 2, this has previously
 16    it says, "GEO_MEN." When you say it's part of our        16   been identified as the Performance-Based National
 17    contract, do you see item No. 0004?                      17   Detention Standard on the voluntary work program.
 18          A. Yes.                                            18   Have you ever seen that before?
 19          Q. It says, "Stipend for detainee work             19         A. No, sir, I have not.
 20    program"?                                                20         Q. Okay. So if you turn to the next page --
 21          A. Yes.                                            21   actually, page 49 and you look at K at the bottom
 22          Q. And this is what you're talking about?          22   left, it says, "Compensation." Do you see that?
 23          A. Yes.                                            23         A. Yes.
 24          Q. It reads, "Reimbursement for this line          24         Q. At the top continuing in paragraph K, it
 25    item will be at actual cost of $1.00 per day per         25   says, "The compensation is at least $1.00 per day."

                                                                                                        9 (Pages 33 to 36)

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                                                          37                                                            39
  1    Is that right?                                            1        A. Yes.
  2         A. Yes.                                              2        Q. Have you ever responded to a complaint or
  3         Q. This is part of the Performance-Based             3   grievance from a detainee who was participating in the
  4    National Detention Standards by which GEO is bound        4   voluntary work program about the amount that they're
  5    under the contract, right?                                5   being paid?
  6         A. Yes.                                              6        A. I don't believe I have.
  7         Q. If you would then move on to page 53, do          7        Q. Okay. I would like to turn your
  8    you see at the top right-hand corner a part of a          8   attention for a moment to Tab 12. We will mark the
  9    document that says, "Detainee Work Program                9   three pages at Tab 12 as Exhibit 13 using a continuous
 10    (Voluntary)"?                                            10   number system.
 11         A. Yes.                                             11           (Deposition Exhibit 13 was marked.)
 12         Q. As far as you know, is this the policy           12        Q. Take a look at those three pages. Excuse
 13    that is applied uniformly at the Aurora facility?        13   me. It's only two pages. Sorry. The handwritten
 14         A. Yes, sir.                                        14   statement of the grievance is a bit illegible, but I
 15         Q. Okay. Please turn to page 60. Have you           15   would like you to read the second page, please.
 16    ever seen this document?                                 16        A. "In response to your grievance dated
 17         A. No, sir, I have not.                             17   7/23, the finding is: The pricing is approved by ICE.
 18         Q. Does it look like a job description for a        18   GEO does not set the pricing. ICE tells us what the
 19    dormitory sanitation worker?                             19   daily pay is for trustees. I hope this addresses your
 20         A. Yes, sir.                                        20   concerns."
 21         Q. And does that include -- or is the               21        Q. Who is that from?
 22    dormitory sanitation worker among one of the jobs that   22        A. That is from me.
 23    a detainee could perform under the voluntary work        23        Q. And is that your signature?
 24    program?                                                 24        A. Yes, sir.
 25         A. Yes, sir.                                        25        Q. If you could turn to Tab 13, we will

                                                          38                                                            40
  1         Q. And uniformly you would compensate that           1   enter these two pages as 14.
  2    person $1 per day for performing this work, correct?      2           (Deposition Exhibit 14 was marked.)
  3         A. Yes, sir.                                         3        Q. This will be Exhibit 14 to your
  4         Q. Okay. And similarly, if we go to page             4   deposition. On the second page, do you see a response
  5    70, you would uniformly pay the laundry sanitation        5   from you saying, "ICE tells us what the daily pay is
  6    worker $1 a day?                                          6   for trustees"? Is that right?
  7         A. Yes, sir.                                         7        A. Yes, sir.
  8         Q. And similarly, if we go to page 80, you           8        Q. "GEO does not set the pricing. The
  9    would uniformly pay the facility cleanup worker a         9   pricing is approved by ICE." Is that right?
 10    dollar a day?                                            10        A. Correct.
 11         A. Yes, sir.                                        11        Q. If you could, let's look at Tab 11. This
 12         Q. If we go to page 105, you would uniformly        12   has previously been marked as Exhibit 9 to Ms. Ceja's
 13    pay the library sanitation worker a dollar a day; is     13   deposition. Do you recognize the document at Tab 11?
 14    that right?                                              14        A. Yes, sir.
 15         A. Yes, sir.                                        15        Q. What is it?
 16         Q. Similarly at 120, the medical sanitation         16        A. It's a monthly billing for the month of
 17    worker, that person gets a dollar a day too, don't       17   November.
 18    they?                                                    18        Q. And this indicates that 1,680 hours of
 19         A. Yes, sir.                                        19   work were performed in the voluntary work program
 20         Q. Every person who works for the voluntary         20   during November 2012, right?
 21    work program gets a dollar a day, correct?               21           MS. FELTON: Object to form.
 22         A. Yes.                                             22        Q. (BY MR. FREE) You can answer the
 23         Q. And it is the case, isn't it, that it is         23   question.
 24    GEO's policy that they cannot receive more; is that      24        A. It's 1680 people.
 25    right?                                                   25        Q. People.

                                                                                                       10 (Pages 37 to 40)

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                                                          41                                                           43
  1         A. Not hours.                                        1   paycheck?
  2         Q. Not hours. That would be --                       2         A. Absolutely not.
  3         A. That would be a lot.                              3        Q. GEO is paying those detainees?
  4         Q. -- somewhere close to a dollar an hour,           4         A. Yes.
  5    which is still too low, but we're talking a dollar a      5        Q. On basically an immediate basis?
  6    day. So this is 1680 shifts?                              6         A. Daily.
  7         A. Yes.                                              7        Q. Daily. Okay. The dollar-a-day rate is
  8         Q. In the month of November 2012, right?             8   set forward in GEO policy as well, correct?
  9         A. $1680 were paid to workers.                       9         A. I believe so.
 10         Q. For eight-hour shifts --                         10           MR. FREE: Let's go off the record.
 11            MS. FELTON: Object to form.                      11           (Recess taken, 4:41 p.m. to 4:43 p.m.)
 12         Q. (BY MR. FREE) -- is that right?                  12           MR. FREE: Let's go back on the record.
 13         A. No.                                              13        Q. (BY MR. FREE) If you could, please, turn
 14         Q. No.                                              14   to Tab 9. I would like you to look at the page marked
 15         A. It could be three hours.                         15   as 1400. Do you recognize this document?
 16         Q. Okay. I think we've already testified            16         A. Yes, sir.
 17    that you can -- you've already told me that if we flip   17        Q. What is it?
 18    over to page 1612, you can tell how many detainees       18         A. It's our policy and procedure.
 19    worked each day using a document like this; is that      19        Q. On what?
 20    right?                                                   20         A. The work program.
 21         A. Correct.                                         21        Q. By "the work program," you mean the
 22         Q. For November 1, that's 60 unique                 22   detainee voluntary work program?
 23    participants; is that right?                             23         A. Yes, sir.
 24         A. Yes, sir.                                        24        Q. This is uniformly applied to all
 25         Q. And based on that, GEO produced the              25   detainees who participate?

                                                          42                                                           44
  1    document at 1613, the batch summary of payroll for all    1        A. Yes, sir.
  2    60 participants, right?                                   2        Q. At 1402, Section J, it says, "Detainees
  3         A. Yes, sir.                                         3   shall receive a stipend of $1.00 per day, to be paid
  4         Q. There are 60 lines because there were 60          4   daily," correct?
  5    participants, right?                                      5        A. Yes.
  6         A. Yes, sir.                                         6        Q. Are you responsible for bidding contracts
  7         Q. No participant is allowed to work more            7   or receiving bids for contracts of people who want to
  8    than one shift per day; is that right?                    8   do work for GEO at the Aurora facility?
  9         A. Yes, sir.                                         9        A. No.
 10         Q. This is the consolidated payroll for             10        Q. Who is responsible for that?
 11    kitchen, laundry, A pod, B pod, evening kitchen,         11        A. Ms. Krumpelmann.
 12    D pod; is that right?                                    12        Q. Okay. How many janitors work at the
 13         A. Yes, sir.                                        13   Aurora contract facility?
 14         Q. This is created in every payment to a            14        A. One.
 15    detainee under the voluntary work program, this batch    15        Q. She only works in the executive office of
 16    summary, correct?                                        16   immigration review area and the ICE area; is that
 17         A. Yes, sir.                                        17   correct?
 18         Q. It is using this document or these               18        A. EOIR, GEO, and ICE.
 19    records that you then seek reimbursement from ICE,       19        Q. So GEO's administrative offices?
 20    correct?                                                 20        A. Correct.
 21         A. Yes.                                             21        Q. Places where detainees are not allowed?
 22         Q. The voluntary work program pay is paid           22        A. Detainees are allowed.
 23    almost immediately, correct?                             23        Q. So why does she do that work and not a
 24         A. Yes.                                             24   detainee voluntary worker?
 25         Q. Detainees don't wait two weeks for a             25        A. She has detainees that if they want to

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                                                          45                                                           47
  1    work, they work.                                          1        Q. This is uniformly employed by GEO for
  2         Q. Okay. If you had to pay someone to do             2   people who are participating in the program; is that
  3    her job at the rest of the facility, you would have to    3   right?
  4    pay someone -- if nobody volunteered, in other words,     4        A. Yes.
  5    for the detainee voluntary work program, you would        5        Q. The names on the list in the batch
  6    have to pay more people, more Danielles, the janitor,     6   summary are taken from the daily logs, correct, that
  7    to clean the rest of the facility, right?                 7   the GEO detainees sign?
  8          A. Yes, sir.                                        8        A. Yeah, the daily payroll sheets.
  9         Q. And she makes about 12 or $13 an hour,            9        Q. And that is uniform within the voluntary
 10    right?                                                   10   work program, correct?
 11          A. Yes.                                            11        A. Yes.
 12         Q. For that type of work, is it fair to say         12        Q. What would happen if the voluntary work
 13    that the value of the work that the volunteer work       13   program did not exist? If detainees did not volunteer
 14    program people are contributing is roughly the value     14   to work, how would GEO perform the functions --
 15    of her salary?                                           15   specifically, what would it cost GEO to perform the
 16            MS. FELTON: Object to form.                      16   functions of these detainees?
 17          A. I would say no.                                 17        A. I would say probably the wage
 18         Q. (BY MR. FREE) Why?                               18   determination and officers.
 19          A. Because they do not work a full eight-          19        Q. We would have to look at the type of
 20    hour day.                                                20   function they were performing on the wage
 21         Q. Okay. Even if they work three hours,             21   determination and look at the salary that you would
 22    they're still getting paid less than she gets paid in    22   have to pay someone to come in and do that function;
 23    an hour, right?                                          23   is that right?
 24          A. Correct.                                        24        A. Correct.
 25         Q. So hour to hour, why is it that their            25        Q. Okay. And practically speaking, in each

                                                          46                                                           48
  1    value is not equal to her value in terms of the           1   department where a voluntary work program detainee
  2    services being rendered to GEO?                           2   works, your staffing plan currently is not such that
  3         A. I can't respond to that. That's an                3   the facility could operate without the VWP; is that
  4    opinion.                                                  4   right?
  5         Q. No. I'm asking GEO's position on this,            5            MS. FELTON: Object to form.
  6    which is what you've been called here today to            6        Q. (BY MR. FREE) You can answer. In fact,
  7    provide. You're not able to do that. You're not able      7   you must answer.
  8    to provide GEO's position on why -- on the value of       8        A. Please repeat.
  9    these services that these voluntary work program          9        Q. Practically speaking, the staffing in
 10    detainees perform?                                       10   each department where a voluntary work program
 11         A. GEO's position is we're required by the          11   detainee works is such that if it went away, if there
 12    contract to pay them what ICE has stipulated.            12   were no voluntary work program, that department
 13         Q. We understand. My question is what the           13   couldn't run; is that correct?
 14    value of that labor is.                                  14            MS. FELTON: Object to form.
 15         A. I can't respond to that.                         15        A. No.
 16         Q. Okay. If you would, please, turn to Tab          16        Q. (BY MR. FREE) That's incorrect?
 17    7 and look at page 62. Do you see that?                  17        A. That is incorrect.
 18         A. Yes, sir.                                        18        Q. Would you be able to run the kitchen if
 19         Q. Is that a detainee voluntary work program        19   there were no voluntary workers?
 20    agreement?                                               20        A. Yes.
 21         A. I believe it is.                                 21        Q. Would you be able to do janitorial if
 22         Q. Okay. This is the agreement that people          22   there were no voluntary workers?
 23    in the voluntary work program sign and agree to when     23        A. Yes.
 24    they're joining the program; is that right?              24        Q. Would you be able to do the barbershop?
 25         A. I would say so.                                  25        A. I don't know.

                                                                                                      12 (Pages 45 to 48)

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                                                          49                                                                51
  1         Q. Would you be able to do the library?              1             MS. FELTON: I don't have anything.
  2         A. Yes.                                              2             WHEREUPON, the within proceedings were
  3         Q. Medical?                                          3      adjourned at the approximate hour of 4:53 p.m. on the
  4         A. Yes.                                              4      29th day of March, 2016.
  5         Q. Dorm cleanup?                                     5                * * * * *
  6         A. Yes.                                              6
  7         Q. Facility cleanup?                                 7
  8         A. Yes.                                              8
  9         Q. If there were no voluntary workers, who           9
 10    would do those jobs?                                     10
 11         A. Officers.                                        11
 12         Q. At the same staffing level or with               12
 13    additional officers being brought in to do them?         13
 14            MS. FELTON: Object to form.                      14
 15         A. It would require additional.                     15
 16         Q. (BY MR. FREE) So you would have to pay           16
 17    more people to do that work if there were no voluntary   17
 18    work program, correct?                                   18
 19         A. I believe so.                                    19
 20         Q. You would have to pay them at wages set          20
 21    by the wage determination attached to the contract,      21
 22    correct?                                                 22
 23         A. Correct.                                         23
 24         Q. Okay.                                            24
 25            MR. FREE: We're losing Mr. Turner for            25


                                                          50                                                                52
  1    the record.                                                                I, MELODY JEAN FURST, do hereby certify
  2                                                                  that I have read the above and foregoing deposition
                (At this time Mr. Turner left the room.)
  3                                                                  and that the same is a true and accurate transcription
                MR. FREE: I think we're done. Let's go
                                                                     of my testimony, except for attached amendments, if
  4    off the record and be sure. Thank you very much for           any.
  5    your patience.                                                             Amendments attached      (   ) Yes   (   ) No
  6             (Discussion off the record.)
  7             MR. FREE: Back on the record.                                                  _____________________________
  8    Ms. Furst, I really appreciate you coming this                                          MELODY JEAN FURST
  9    afternoon. We are going to suspend your deposition.
 10    What that means is you're going to remain under oath.
 11                                                                               The signature above of MELODY JEAN FURST
       It's going to be like we're taking a break. And we
 12                                                                  was subscribed and sworn to before me in the County of
       are going to attempt to reach a resolution on the
 13                                                                  ______________, State of Colorado, this ______ day of
       issue of number of detainees who have worked and also
                                                                     ________________, 2016.
 14    on the amount that's been paid through the voluntary
 15    work program. And we may need to take that up with
 16    the court. You may need to come back here and testify
 17    at some point in the future. I don't know.
 18             THE DEPONENT: Okay.                                                            _____________________________
 19             MR. FREE: For now you're going to remain                                       Notary Public
 20    under oath. And I'm going to ask you about anything                                     My commission expires
 21    that you were told while you were under oath on these
 22    questions the next time we see each other, if we see
 23    each other again. Okay?
 24             THE DEPONENT: All right.
 25             MR. FREE: Those are all of my questions.             Alejandro Menocal 3/29/16 - Volume I (dc)


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                                                         53
                     REPORTER'S CERTIFICATE
    STATE OF COLORADO           )
                                ) ss.
    CITY AND COUNTY OF DENVER )
                 I, Darcy Curtis, Registered Professional
    Reporter and Notary Public ID 20064016972, State of
    Colorado, do hereby certify that previous to the
    commencement of the examination, the said MELODY JEAN
    FURST was duly sworn by me to testify to the truth in
    relation to the matters in controversy between the
    parties hereto; that the said deposition was taken in
    machine shorthand by me at the time and place
    aforesaid and was thereafter reduced to typewritten
    form; that the foregoing is a true transcript of the
    questions asked, testimony given, and proceedings had.
                 I further certify that I am not employed
    by, related to, nor of counsel for any of the parties
    herein, nor otherwise interested in the outcome of
    this litigation.

                 IN WITNESS WHEREOF, I have affixed my
    signature this 12th day of April, 2016.

               My commission expires May 2, 2018.

    __X__ Reading and Signing was requested.
    _____ Reading and Signing was waived.
    _____ Reading and Signing is not required.




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                                       24 FURST

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                               REPORTER'S CERTIFICATE

            STATE OF COLORADO              )
                                           ) ss.
            CITY AND COUNTY OF DENVER      )

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            FURST was duly sworn by me to testify to the truth in
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